         Case 1:20-cv-00212-SPB Document 78 Filed 05/11/23 Page 1 of 3




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 “JANE DOE” a pseudonym                      :
                                             :
                              Plaintiff      : No. 1:20-CV-00212-SPB
                                             :
        v.                                   :
                                             : CIVIL ACTION
 ALLEGHENY COLLEGE                           :
                                             :
                              Defendant.     :
                                             :

                                  STIPULATION OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiff Jane Doe (“Plaintiff”) and

Defendant Allegheny College (“Defendant”) hereby stipulate, through their undersigned

counsel, that this action shall be dismissed with prejudice.

       Undersigned counsel for all parties consent to the submission of this Stipulation

with electronic signatures.


Dated: May 8, 2023


 KLINE & SPECTER, P.C.                           TUCKER LAW GROUP, LLC


 /s/ Helen A. Lawless                            /s/ Heather R. Olson
 Thomas R. Kline, Esquire                        Joe H. Tucker, Esquire
 Helen A. Lawless, Esquire                       Jessica A. Rickabaugh, Esquire
 I.D. No. 28895; 327249                          Heather R. Olson, Esquire
 1525 Locust Street, 19th Floor                  I.D. Nos. 56617; 200189; 92073
 Philadelphia, PA 19102                          Ten Penn Center
 (215) 772-1000                                  1801 Market Street, Suite 2500
                                                 Philadelphia, PA 19103
 Attorneys for Plaintiff                         (215) 875-0609

                                                 Attorneys for Defendant
        Case 1:20-cv-00212-SPB Document 78 Filed 05/11/23 Page 2 of 3




                                   BY THE COURT:



                                   _______________________________
       May 11, 2023
Date: _________                    Honorable Susan Paradise Baxter
         Case 1:20-cv-00212-SPB Document 78
                                         77 Filed 05/11/23
                                                  05/08/23 Page 3 of 3




                                CERTIFICATE OF SERVICE

       I, Heather R. Olson, Esquire, hereby certify that a copy of the foregoing was filed

electronically. Notice of this filing will be sent to all parties by operation of the Court’s

electronic filing system. Parties may access this filing through the Court’s system.


                                                   TUCKER LAW GROUP


Date: May 8, 2023                                  /s/ Heather R. Olson
                                                   Heather R. Olson, Esquire
